                                Court of Appeals
                         Sixth Appellate District of Texas

                                    JUDGMENT


 In the Matter of the Marriage of Angela                Appeal from the County Court at Law of
 Lynn Lewis and Martin Paul Lewis                       Bowie County, Texas (Tr. Ct. No. 18-D-
                                                        0158-CCL).        Memorandum Opinion
 No. 06-19-00046-CV                                     delivered by Justice Burgess, Chief Justice
                                                        Morriss and Justice Stevens participating.




       As stated in the Court’s opinion of this date, we find no error in the judgment of the court
below. We affirm the judgment of the trial court.
       We further order that the appellant pay all costs of this appeal.




                                                       RENDERED JANUARY 3, 2020
                                                       BY ORDER OF THE COURT
                                                       JOSH R. MORRISS, III
                                                       CHIEF JUSTICE

ATTEST:
Debra K. Autrey, Clerk
